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                                EXHIBIT “H”
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    From:            Troy Lambe
    To:              paulwverner@vernerlaw.com
    Subject:         Re: Fees
    Date:            Wednesday, May 16, 2018 11:47:42 PM


   dude scratch that last attached document your math is incorrect. Please see attached, you made an error
   not in your favor just deduct the total in red from the 1m9k see balance, add credits its 537,449 to us not
   577,449




   On Wed, May 16, 2018 at 3:19 PM, Paul W. Verner <paulwverner@vernerlaw.com> wrote:

      PS – I’m going to be taking a break for about a week but I’ll have a todo list
      for your review on all the open items. We can start attacking them one by
      one. Regards.

      -----------------------------------------------




      Troy/Janet - I think these calculations are all correct now. Double check and
      if I haven’t made an error, please sign the Table to authorize the wire transfer
      and return it by email with banking instructions.


      Unless you are already at the Harley Dealer, in which case I can surely wait.


      --------------------------------
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     I have to get a letter out the door, then I am shutting the phones and finishing
     with your $. OK?

     ------------------




     Yea you are absolutely right. Erica pays $6666.00 .


     Let me send you a revised table.


     PAUL W. VERNER ¦ VERNER SIMON
     ____________________________________________________________

     30 Wall Street, 8th Floor     New York, NY 10005

     Tel: (212) 502-5500   Fax: (212) 502-5400

     ____________________________________________________________




     Five Greentree Centre       525 Rt. 73 North, Suite 104 Marlton, NJ 08053

     Tel: (856) 817-6315   Fax: (856) 817-6017

     ____________________________________________________________




     From: Troy Lambe <troylambe@gmail.com>
     Sent: Wednesday, May 16, 2018 1:06 PM

     To: paulwverner@vernerlaw.com
     Subject: Re: Fees



     Hey man, setting everything up..I have on question on the fees..you put 20k on the sheet for
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     the "Shotgun Case" and then you placed a $6666 credit (1/3rd) why am I paying for 2/3rd's?
     shouldn't you credit me 6666 x 2? Erica should be paying that other 6666 not me?



     I am just about ready to provide you banking instructions..I want to have you do the
     collections settlement the fees are fine...but I want 10% of 198k (judgement totals combined
     ) kept in your trust/escrow account to settle claims.

     So I think you should credit me Eric's portion of the Shotgun Case ($6666)...and withhold
     $19,800 for settlement payout in your escrow account for me..

     I am willing to give JT 2.5% at most of MY net recovery amount you send. (FYI) reminding
     him there will be another round coming..



     Later man..

     Much Love..




     On Tue, May 15, 2018 at 5:47 PM, Paul W. Verner <paulwverner@vernerlaw.com> wrote:

       What time do you want to talk?


       I haven’t seen your numbers yet.


       Sending small invoices and retainers over in next few emails if you need
       them. Let me know if not.


       Paul

       ---------------------




       Hi. Cant see straight yet.
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       Have a pinched nerve and cant raise my arm over my head without severe
       pain.


       Plus I just see an email saying I have to be ready to receive a call from a
       judge from 10 to 12 pm.


       Can we push the call down? 2 pm ET?


       PAUL W. VERNER ¦ VERNER SIMON
       ____________________________________________________________

       30 Wall Street, 8th Floor     New York, NY 10005

       Tel: (212) 502-5500   Fax: (212) 502-5400

       ____________________________________________________________




       Five Greentree Centre       525 Rt. 73 North, Suite 104 Marlton, NJ 08053

       Tel: (856) 817-6315   Fax: (856) 817-6017

       ____________________________________________________________




       From: Troy Lambe <troylambe@gmail.com>
       Sent: Tuesday, May 15, 2018 6:46 AM
       To: paulwverner@vernerlaw.com
       Subject: Re: Fees



       Hey brother, you stayed up late! Thanks for doing this, its really about 58k over my
       expectations.(not bad) :0)... however what's missing is what I believe is the most
       important going forward is the suit for this exparte' debacle I WANT their asses for what
       they have done to us both financially by way of the delays, the additional fees bestowed
       upon us to fight and for the extreme financial and emotional stress caused by their actions.
       breech of contract, intentional tort and what the fuck else your great lawyer ass says they
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       did!




       TTYS bro



       On Tue, May 15, 2018 at 3:10 AM, Paul W. Verner <paulwverner@vernerlaw.com>
       wrote:

         This Memo has a corrected Table. I forgot to add a reserve for the
         Yitzhak defense.

         -------------------------------


         Here is a memo for your review.


         I’ll send the draft bills after I print them tomorrow morning.


         PAUL W. VERNER ¦ VERNER SIMON
         ____________________________________________________________

         30 Wall Street, 8th Floor     New York, NY 10005

         Tel: (212) 502-5500   Fax: (212) 502-5400

         ____________________________________________________________




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